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April 11, 2024

BY ECF

The Honorable Loretta A. Preska
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

  Re:    Petersen Energía Inversora S.A.U. et al. v. Argentine Republic et al.,
         No. 15 Civ. 2739 (S.D.N.Y.) (LAP); Eton Park Capital Mgmt. et al.
         v. Argentine Republic et al., No. 16 Civ. 8569 (S.D.N.Y.) (LAP)


Dear Judge Preska:

   We respectfully submit this letter on behalf of YPF S.A. (“YPF”) in
connection with Plaintiffs’ notice of motion to seal [Dkt. No. 544] and
memorandum of law in support of that motion [Dkt. No. 545], filed on April
1, 2024.

  Unlike the Republic of Argentina, YPF was not granted access to the
documents filed under seal. On April 8, YPF’s counsel asked Plaintiffs’
counsel for a copy of the sealed documents. Today, Plaintiffs’ counsel
declined this request.

   While the Court dismissed Plaintiffs’ claims against YPF, the Company is a
party to the pending appeals in the Second Circuit and has a continuing
interest in reviewing all filings with the Court to determine whether they are
relevant to the pending appeals or otherwise relevant to YPF. Given that
Plaintiffs’ counsel did not provide any assurances that the sealed filings are
not relevant to the pending appeals or otherwise relevant to YPF, the
Company is left to conclude that they are. Accordingly, given that presumed
relevance, and that YPF does not have access to Plaintiffs’ brief explaining
why sealing might be appropriate, YPF respectfully requests that the Court
deny Plaintiffs’ sealing request as to the memorandum of law [Dkt. No. 545]
and any related filings.
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The Honorable Loretta A. Preska       2                         April 11, 2024




                                      Respectfully submitted,

                                      /s/ Mark P. Goodman
                                      Mark P. Goodman
                                      Shannon Rose Selden

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  cc:    Counsel of Record (by ECF)
